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 1   ANTHONY P. CAPOZZI, CSBN: 068525
     NICHOLAS A. CAPOZZI, CSBN: 275568
 2   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. Shaw Avenue, Suite 102
 3   Fresno, California 93711
     Telephone: (559) 221-0200
 4   Facsimile: (559) 221-7997
     E-mail: anthony@capozzilawoffices.com
 5   www.capozzilawoffices.com
 6   Attorney for Defendant,
     LUCIA and JOSEPH CHAVEZ
 7

 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,               ) Case No.: 1:12-CR-00213 AWI
                                             )
12               Plaintiff,                  )
                                             )
13        vs.                                ) DEFENDANT’S NOTICE OF WAIVER
                                             ) OF PERSONAL APPEARANCE
14   LUCIA CHAVEZ and JOSEPH                 )
     CHAVEZ,                                 ) Date: November 13, 2012
15                                           ) Time: 1:00 p.m.
                 Defendant.                  ) Courtroom: Three
16

17        Defendants, LUCIA CHAVEZ and JOSEPH CHAVEZ, hereby waive
18   their right to be present in open Court upon the hearing
19   presently       set   for    November       13,    2012,   at    1:00      p.m.     in
20   Courtroom Three of the above entitled court.
21        Defendants hereby requests the Court proceed during every
22   absence    of    which      the    Court    may   permit      pursuant     to     this
23   waiver;     agrees       that       their    interests        will    be     deemed
24   represented at all times by the presence of their attorney,
25   Anthony P. Capozzi,          the     same   as     if   the     Defendants        were
26   personally      present;      and    further      agrees   to    be   present      in
27   person in Court ready for trial any day and hour the Court
28   may fix in their absence.
                                            - 1 -
                     Defendant’s Notice of Waiver of Personal Appearance
       Case 1:12-cr-00213-AWI-BAM Document 107 Filed 10/17/12 Page 2 of 3


 1
          Defendants       further   acknowledge      that    they       have   been
 2
     informed of their rights under Title 18, United States Code,
 3
     section 3161-3174 (Speedy Trial Act), and authorizes their
 4
     attorney   to   set    times    and   delays    under    the    Act    without
 5
     Defendants being present.
 6

 7
     DATED:_October 15, 2012_
 8
                                             _/s/Lucia Chavez____________
 9                                           LUCIA CHAVEZ
10
                                             Defendant

11
     DATED:_October 15, 2012_
12
                                             _/s/Joseph Chavez___________
13                                           JOSEPH CHAVEZ
                                             Defendant
14

15
                                             Respectfully submitted,
16

17
     Dated:_October 15, 2012_
18
                                             /s/ANTHONY P. CAPOZZI_______
19                                           Anthony P. Capozzi
                                             Attorney for, LUCIA CHAVEZ
20                                           and JOSEPH CHAVEZ
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                                          - 2 -
                   Defendant’s Notice of Waiver of Personal Appearance
                           Case 1:12-cr-00213-AWI-BAM Document 107 Filed 10/17/12 Page 3 of 3


 1
                                                             ORDER
 2

 3                            Good cause appearing,
 4

 5                            IT IS HEREBY ORDERED that Defendants LUCIA CHAVEZ and
 6   JOSEPH CHAVEZ are hereby excused from appearing at the court
 7   hearing schedule for November 13, 2012, at 1:00 p.m.
 8

 9
     IT IS SO ORDERED.

10                         Dated:   October 16, 2012                    /s/ Dennis L. Beck
11   DEAC_Signature-END:
                                                               UNITED STATES MAGISTRATE JUDGE

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     3b142a
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                                                              - 3 -
                                       Defendant’s Notice of Waiver of Personal Appearance
